Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 1 of 39




                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO


   WARNER BROS. RECORDS INC., et al.,

            Plaintiffs,

   V.                                                     Civil Action No. 19-cv-00874-RBJ-MEH

   CHARTER COMMUNICATIONS, INC.,

            Defendant.


     AFFIDAVIT OF ERIN R. RANAHAN IN SUPPORT OF DEFENDANT CHARTER
    COMMUNICATIONS, INC.'S REPLY BRIEF IN SUPPORT OF ITS OBJECTION TO
     MAGISTRATE JUDGE HEGARTY'S OCTOBER 29, 2019 DISCOVERY ORDER

   County of Los Angeles            )
                                        ss.
   State of California              )

            The affiant, being of lawful age and duly sworn upon her oath, states and deposes as

   follows:


   I, Erin R. Ranahan, hereby declare:

        1. I am a partner of the firm Winston & Strawn LLP, attorneys of record for Defendant

            Charter Communications, Inc. ("Charter"). I submit this declaration in support of Charter's

            Reply Brief in Support of Its Objection to Magistrate Judge Hegarty's October 29, 2019

            Discovery Order. I have personal knowledge of all facts stated in this declaration, and if

            called upon as a witness, I could and would competently testify thereto.

        2. Attached hereto as Exhibit 1 is a true and correct copy of the Sony Music Entmt. et al.

            Hearing Transcript from a motion to compel hearing on January 25, 2019, where the Court

            hears extensive argument about the per-work financial data by channel at 12:5-33:9. The

            following excerpts can be found at 19:13-17, 26:21-27:2, 32:6-13, where the court

                                                     1
   AmericasActive: 14254439.2
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 2 of 39




            ultimately compels per-work financial information for physical, downloads, streaming, and

            licensing from 2011 through 2014:

                        [Court to Plaintiffs' counsel] I need you to address why I shouldn't require
                        the plaintiffs in this case, who decided to bring this case, decided to bring
                        this case alleging 11,000 works with various different entities, you made
                        that decision, and why they shouldn't be required to produce revenue by
                        work by channel for a period of time .

                        ... revenues do come into play even when you have statutory damages. So
                        that puts it in the realm of we don't just get to wash our hands of, you know,
                        profit and loss information and revenues and lost revenues and things like
                        that, just because we have statutory damages .

                        . . .I mean, I think, you know, that's certainly information that is relevant ... I
                        do think it's relevant. And I am going to require them to produce that
                        information. So it's going to be from 2011 through 2014, revenue by work
                        by channel, including those four channels, physical, downloads, streaming,
                        and licensing.


       3. Attached hereto as Exhibit 2 is the November 19, 2019 Order, in Sony Music Entmt et al.

            v. Cox Communications, Inc. et al. (Dkt. 590, E.D. Va. 1:18-cv-00950-LO-JFA) ("Cox")

            denying the plaintiffs' motion in limine to exclude documents regarding the Copyright

           Alert System ("CAS"), allowing evidence and argument relating the CAS to be introduced

            at trial.

       4. As the trial in Cox is presently underway, evidence regarding the CAS has been featured

            not only in opening statements, but has been raised in the testimony of several witnesses.

            Attached hereto as Exhibit 3 is a true and correct composite of trial transcript excerpts

            from the Cox trial showing samples of testimony related to the CAS.




                                                            2
   AmericasActive: 14254439.2
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 3 of 39




                                                         Erin R. Ranahan


    A notary public or other officer completing this certificate verifies only the identity of the
    individual who signed the document to which this certificate is attached, and not the truthfulness,
    accuracy, or validity of that document.

    State of California                                Subscribed and sworn to before me on this
    County of Los Angeles                              10th date of December, 2019, by, Erin R.
                                                       Ranahan, proved to me on the basis of
                                                       satisfactory evidence to be the person who
                                                       appeared before me.




                         Seal
                Place Notary Seal Above




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   AmericasActive:14254439.2
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 4 of 39




                               EXHIBIT 1
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 5 of 39


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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division




           ---------------------------------:
                                            :
           SONY MUSIC ENTERTAINMENT, et al.,:
                          Plaintiffs,       :
                                            :
                -vs-                        :          Case No. 1:18-cv-950
                                            :
                                            :
           COX COMMUNICATIONS, INC., et al.,:
                          Defendants.       :
                                            :
           ---------------------------------:




                                      HEARING ON MOTIONS


                                       January 25, 2019


                        Before:    John F. Anderson, U.S. Mag. Judge




           APPEARANCES:

           Matthew J. Oppenheim, Scott A. Zebrak, Jeffrey M. Gould,
           and Kerry M. Mustico, Counsel for the Plaintiffs

           Thomas M. Buchanan, Jennifer A. Golinveaux, and
           Sean R. Anderson, Counsel for the Defendants




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 6 of 39


                                                                                              12

       1   up -- we will take up -- I'll do the arguments item by item.

       2   So I'll hear argument from Cox first, and then I'll hear

       3   argument from the plaintiffs, and then I'll decide that issue,

       4   and then we'll move on to the second one.

       5               So we'll take up the financial, the revenue and

       6   profits information.     And I -- you know, I -- one thing that

       7   concerns me about this is that you filed a motion, you outlined

       8   a number of document requests that you were asking me to order

       9   them to produce documents in response to it, which are far

      10   beyond what you now say in your reply brief that we got last

      11   night that you're really looking for.

      12               I mean, you say, we're not looking for profit and

      13   loss information, but you include in your motion requests that

      14   only ask for profit and loss information.

      15               You know, you say that the plaintiff has, you know,

      16   made all these arguments that are not necessary to be made.

      17   Well, you actually include in your motion document requests

      18   that are specifically only asking for profit and loss

      19   information.

      20               I don't -- I'm confused about that.             I mean, I spent

      21   a lot of time going through your document requests that ask for

      22   profit and loss information because you put them in your motion

      23   and said, I want this to be a part of, you know, what you rule

      24   on.   And then we get this reply brief and you say, you know,

      25   oh, never mind.




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 7 of 39


                                                                                              13

       1               Help me understand that.

       2               MS. GOLINVEAUX:    Yes, Your Honor.          So Cox's initial

       3   request, the document request, sought profit, expenses, and

       4   revenue per work per medium because that's what our expert has

       5   told us would be most useful.

       6               We spent -- we've spent a number of hours on the

       7   phone with plaintiffs, and they said they don't maintain the

       8   profit and loss information by work.          They don't do it.

       9               So as part of the process to compromise, we offered

      10   during the meet and confers to narrow those requests to just

      11   their revenue per work per channel because they said they also

      12   didn't keep it by medium.

      13               So we tried to make that clear in our -- in our

      14   opening motion, that what we're moving on is what we think they

      15   likely do have.

      16               THE COURT:   Well then, why would you include in your

      17   list of document requests that you were moving this Court on:

      18   Your detailed and itemized profit and loss statements or

      19   reports provided in readable and useable format organized by

      20   each of the copyrighted works for each of the last ten years?

      21               MR. BUCHANAN:    Because, Your Honor, those were the

      22   initial requests.     And during the process of meeting and

      23   conferring, we narrowed them because plaintiffs explained to us

      24   that they didn't maintain the data that way.

      25               THE COURT:   Well, you don't -- you know, narrow them




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 8 of 39


                                                                                              14

       1   and completely rewriting them are completely different things.

       2                I mean, you know, there are other requests that cover

       3   financial information.      But that's neither here nor there, I

       4   guess.    I just -- all right.

       5                Also help me understand why you think this

       6   information is readily available, which you've indicated in

       7   your pleadings.

       8                MS GOLINVEAUX:    Your Honor, plaintiffs have told us

       9   specifically that the profit and loss statements per work is

      10   not available, they don't maintain their records that way.

      11                But they've never said they don't have revenue per

      12   work.    And they don't say that in their opposition brief.

      13                And in fact, that's just what BMG produced in the

      14   last case.    And Your Honor may recall because that issue was up

      15   in --

      16                THE COURT:   Well, they voluntarily did it.                 I didn't

      17   order them to produce it.      They said, we have this and we'll

      18   produce it.    So the idea that I ordered them to produce it I

      19   think is an overstatement.

      20                MS. GOLINVEAUX:   Fair enough, Your Honor.              There

      21   was -- there was an order with respect to the scope of that

      22   production.

      23                THE COURT:   Right.

      24                MS. GOLINVEAUX:   And our expert, who has -- our

      25   financial expert, who we've disclosed to the plaintiffs, who




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 9 of 39


                                                                                              15

       1   has dealt with this issue in a number of cases, believes also

       2   that this would be a way that the major -- the labels and the

       3   music publishers would keep the information.

       4               And, Your Honor, if you look at the declarations they

       5   put in with their opposition, they never say they don't keep

       6   that information.

       7               THE COURT:    Well, one of them hints at it, but the

       8   others talk about profit and loss.         One does make a mention as

       9   to revenue.

      10               MS. GOLINVEAUX:    And that's Mr. Abithol, I think,

      11   Your Honor, who seems to indicate that the revenue numbers do

      12   exist, at least for Sony ATV.       But nowhere have they said those

      13   don't exist.    If they don't -- we have been on the phone with

      14   them for hours now.      They could have told us that, we would

      15   have worked something out.

      16               We're not trying to put them to a lot of work to

      17   organize documents in a way -- or data in a way that doesn't

      18   exist.   We're just trying to get meaningful data for our

      19   financial expert.

      20               THE COURT:    Right.   And when you say, "revenue by

      21   work and by channel," help me understand what you mean by

      22   "channel," given that there is some indication that there is

      23   many different channels or types of revenue streams having to

      24   do with TV commercials and other things.

      25               And I am trying to understand how granular you need




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 10 of
                                      39

                                                                                             16

      1    that information for your purposes in this case.

      2               MS. GOLINVEAUX:    Well, Your Honor, we initially

      3    requested by medium, which they said they didn't have.                   By

      4    channel, which is what we moved to because it sounds like that

      5    may be the way the data is maintained, what we mean by that is

      6    the different channels through which they distribute these

      7    works.   And that would be physical sales, which would be CDs or

      8    records.   Digital downloads would be another channel.

      9    Streaming would be another.     And licensing would be another.

     10               THE COURT:   Okay.   So if you get -- I understand your

     11    argument on revenue by work by channel.          Okay.      I don't

     12    understand how you think any other aggregate information will

     13    be useful as far as profits go.

     14               So, profit by artist, you know, profit by something

     15    that is a much larger than by work information, I don't see how

     16    that can be used.

     17               Breaking it down, maybe in an overall sense as to,

     18    you know, this type of industry, what things are.                But having

     19    them go through the process of saying how much a certain artist

     20    might do when only one or two of his or her works are part of

     21    here, how that comes into play and how that is, I would say,

     22    important to the issue at stake and how it would be used in

     23    resolving an issue at stake, and the level of detail it would

     24    take to do that.

     25               MS. GOLINVEAUX:    Right.    Your Honor, we agree with




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 11 of
                                      39

                                                                                             17

      1    you that that would not -- if we can get the revenue by

      2    channel, by work, that's more directly relevant.               And we don't

      3    need to you put them through the task of that -- of those other

      4    data points.    Really, those were, if we can't get that

      5    information, we really have nothing else to go on.                That would

      6    be a proxy.     But if we could get the revenue by work, that

      7    would be acceptable.

      8               THE COURT:    All right.    And you're asking for it from

      9    2010 to 2014; is that right?     That's what the limited --

     10               MS. GOLINVEAUX:    That's correct, Your Honor.

     11               THE COURT:    Okay.   And help me understand why we're

     12    going three years beyond the claim period -- the claim period

     13    I'm -- I know it's only 22 months, but I'm saying it is 2013

     14    through 2014.    So you're asking for 2010, 2011, and 2012.

     15               MS. GOLINVEAUX:    Your Honor, certainly the most

     16    relevant information would be for the claim period.                 We have

     17    asked for the three years prior as well because it would be

     18    relevant to showing trends in terms of how these works were

     19    distributed.

     20               The music industry in terms of distribution has

     21    changed dramatically over that time period in terms of whether

     22    people were primarily downloading these works versus streaming

     23    them, for example.    And that type of data would help us show

     24    that.

     25               If the plaintiffs say, well, going back to 2010




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 12 of
                                      39

                                                                                             18

      1    really gets more difficult because it's not maintained as

      2    readily, I think we could certainly live with going two years

      3    back before the claim period.

      4               THE COURT:    Okay.   Thank you.

      5               I will hear plaintiffs' response.            First of all, have

      6    you filed something with the Court that specifically limits

      7    your damages to statutory damages?

      8               MR. OPPENHEIM:    Not with the Court.           But we have

      9    given an affirmation --

     10               THE COURT:    Well, you need to do that, and you need

     11    to do that right away.

     12               MR. OPPENHEIM:    Yes, Your Honor, we can do that.

     13               THE COURT:    And, you know, I don't want there to be

     14    any backtracking.    I don't want there to be any, you know,

     15    rethinking of that issue.     I'm now deciding this case as if you

     16    have filed with the Court a binding stipulation that you are

     17    only seeking statutory damages.

     18               Are you comfortable with that?

     19               MR. OPPENHEIM:    Absolutely, Your Honor, we have

     20    elected statutory damages and we've informed the defendants of

     21    that both orally and in writing, Your Honor, and we will file

     22    something with the Court.     Not an issue.

     23               THE COURT:    And you plan to have your expert serve

     24    his or her report on damages by April 10; is that correct?

     25               MR. OPPENHEIM:    I don't have the schedule in front of




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 13 of
                                      39

                                                                                             19

      1    me.   Whatever the schedule is, Your Honor, that is our --

      2               THE COURT:   I believe that's the date for the initial

      3    expert reports.

      4               MR. OPPENHEIM:    Very well, Your Honor.

      5               THE COURT:   I assume you've got an expert that you're

      6    going to have on damages; is that right?

      7               MR. OPPENHEIM:    We are still working through all of

      8    our expert issues, Your Honor, but I assume we will have some

      9    experts who will speak to financial issues.

     10               THE COURT:   Okay.   All right.

     11               MR. OPPENHEIM:    If I -- I'm sorry, Your Honor.

     12               THE COURT:   Go ahead.    And now I need you to address

     13    the -- why I shouldn't require the plaintiffs in this case, who

     14    decided to bring this case, decided to bring this case alleging

     15    11,000 works with various different entities, you made that

     16    decision, and why they shouldn't be required to produce revenue

     17    by work by channel for a period of time.

     18               MR. OPPENHEIM:    And, Your Honor, let me answer that.

     19    Once again, I want to address your first point first.

     20               Your Honor, in the defendants' proposed order that

     21    they filed with their motion, they actually asked the Court to

     22    compel production of all of those requests for production --

     23               THE COURT:   Well, it also says, as modified by my --

     24    by their memorandum.    And I don't know what that means.                  So,

     25    I'm --




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 14 of
                                      39

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      1                MR. OPPENHEIM:   Anyway.    You understand -- we

      2    appreciate Your Honor understands that.          Very well.

      3                THE COURT:   I was confused, you were confused, but we

      4    are going to deal with these issues directly.

      5                MR. OPPENHEIM:   Very well.      So the defendants want

      6    this information, they say, because they want to put an actual

      7    damages analysis in front of a jury.         So they say, let us get

      8    the historical revenue information.        That, Your Honor, however,

      9    it's a non sequitur.     Right.    The fact that they want an actual

     10    damages analysis has nothing to do with the historical revenue

     11    streams.    Right.   Historical revenue streams won't help anybody

     12    do an actual damages analysis.

     13                If you want to do an actual damages analysis and you

     14    want to figure out what the lost revenues were, you would say,

     15    okay, what would be the revenues per, per lost digital download

     16    or per lost stream, multiplied times the number of losses.

     17    Right.    How many distributions did each of their subscribers

     18    make.    And it's a calculus, it's a simple mathematical

     19    equation.    And there are two -- there are two variables.

     20                So the historical information doesn't help inform

     21    either one of those variables.

     22                THE COURT:   It may.    I mean, if there is a

     23    copyrighted work in which there has been no revenue for four

     24    years, don't you think that's going to be significant?

     25                MR. OPPENHEIM:   No, Your Honor, because if there is




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 15 of
                                      39

                                                                                             21

      1    -- if there are illegal distributions of it, right, and that

      2    work was -- was displaced sales.       Maybe that's why there were

      3    no sales, because their subscribers were massively infringing

      4    it.

      5               Now, in reality, we're talking about 11,000 works.

      6    The overwhelming majority of them are very well known because

      7    they are distributed by one of the major record companies or

      8    music publishers in this country.

      9               But, Your Honor, what -- we've tried to work with the

     10    defendants to get at what they want here.

     11               THE COURT:    All right.    Well, they want revenue by

     12    work by channel.

     13               MR. OPPENHEIM:    But the historical revenue, Your

     14    Honor, doesn't inform that first variable.

     15               What does inform that first variable is what would be

     16    the lost revenue for each one of the distribution.                Leave

     17    aside, they're never going to get the second variable, that is

     18    how many distributions there were, they can't tell us, nobody

     19    can tell us.   Right.   But even if they want that first

     20    variable, we've given them a proffer, Your Honor, a detailed

     21    proffer from each of the entities of what that -- what that

     22    lost revenue per work is.     Right.

     23               We didn't have to do that.        We did that to address

     24    their request.     So we went ahead and we did that.             And that

     25    actually informs on that one variable.




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 16 of
                                      39

                                                                                              22

      1                So we've -- we've done what they need for their

      2    purposes.   Now they come and they say, well, we want historical

      3    revenue data on 11,000 works.

      4                And we have declarations from every one of the

      5    companies saying, this would be a massively burdensome --

      6                THE COURT:   No, you don't.       And I went through, after

      7    I got the reply last night, to see what your declarations say.

      8    And they talk about how profit and loss information and how to

      9    decide how much money you would take from the gross revenues to

     10    determine, you know, all those other kinds of things is

     11    difficult and would take a long time.

     12                Nowhere does anybody say, we don't keep profit and --

     13    we don't keep revenue by work data.

     14                MR. OPPENHEIM:   And, Your Honor, to be clear, I'm not

     15    saying that they say that they don't keep it.               But there is a

     16    huge distinction between they don't keep it and how burdensome

     17    it would be to collect it.

     18                THE COURT:   All right.     Show me --

     19                MR. OPPENHEIM:   So Mr. Leak's --

     20                THE COURT:   -- in any one of the declarations.

     21                MR. OPPENHEIM:   Sure.

     22                THE COURT:   -- where they say it's burdensome to

     23    produce revenue by work by channel.

     24                MR. OPPENHEIM:   So in Mr. Leak's declaration,

     25    paragraph 9, Your Honor.




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 17 of
                                      39

                                                                                             23

      1                THE COURT:   Which -- which exhibit is he?

      2                MR. OPPENHEIM:   Let me see which declaration that is.

      3    It's 82-8, Your Honor, in the filing, if that helps.

      4                THE COURT:   82-8.   Okay.

      5                MR. OPPENHEIM:   And I am just going to turn as one

      6    example, paragraph 9, Your Honor.        It says in the second

      7    sentence:   Determining all the revenue generated on a

      8    track-by-track basis (or even worse, including albums or EPs)

      9    in a particular time period going back a number of years is

     10    extremely time consuming, even if the inquiry is limited to

     11    U.S. revenue.

     12                THE COURT:   Where are we?

     13                MR. OPPENHEIM:   I am sorry, the second sentence of

     14    paragraph 9.

     15                THE COURT:   The second sentence:           Determining all the

     16    revenue generated on a track-by-track basis -- okay.

     17                MR. OPPENHEIM:   It goes on, Your Honor, and it

     18    discusses the difficulty in gathering this.

     19                Or, Your Honor, I mean, I can go through --

     20                THE COURT:   All right.    You know, that's the one that

     21    I think discussed difficulty, but doesn't really put any meat

     22    on the bones as to extremely difficult, a lot of different

     23    things to do, and then puts the caveat, they're demanding all

     24    related documentation, that would include certain things, which

     25    they're not.    They just want to know now the revenue by




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 18 of
                                      39

                                                                                             24

      1    channel.

      2               MR. OPPENHEIM:    Your Honor --

      3               THE COURT:   Okay.

      4               MR. OPPENHEIM:    We had to respond on many numerous

      5    requests, including profit and loss, because they included

      6    everything in their works.      We did this on a two-day basis.

      7    They did it on a holiday weekend.       To the extent you want

      8    supplemental declarations on the burden, we're happy to provide

      9    them.

     10               Every one of these declarations, I can go through

     11    them, Your Honor, Mr. McMullan's declaration for Universal

     12    Music -- give me that number, please.         Similarly in paragraph

     13    11 says:   Revenue data --

     14               THE COURT:   Hold on, I want to get it because I tried

     15    to go through here and find out where any of these things

     16    focussed on the issue of -- all right, what paragraph do you

     17    say?

     18               MR. OPPENHEIM:    82-2, sorry, in paragraph 11.

     19               THE COURT:   I have got it.       Cost data with respect to

     20    given sound recordings.     It's complicated, costs include, and

     21    then he goes through and talks about that.              Many of the

     22    costs -- revenue data would be voluminous and include documents

     23    or information related to millions of tracks each year, as well

     24    as licensing and so and so.

     25               It doesn't say -- it would be voluminous, of course,




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 19 of
                                      39

                                                                                             25

      1    you have got a 11,000 copyrights, so --

      2               MR. OPPENHEIM:    Well, he says --

      3               THE COURT:   So, you know, no doubt that is going to

      4    be voluminous.

      5               MR. OPPENHEIM:    Well, he says revenue data would be

      6    similarly voluminous, and include documents or information

      7    relating to millions and millions of track and album sales made

      8    each year, as well as licensing deals and television and movie

      9    studios, retailers, streaming service, satellite and cable

     10    service.

     11               By the way, the request for licensing deals, when --

     12    that a record company or a music publisher does a deal with a

     13    movie studio to put a track on a movie, how that is relevant, I

     14    have no idea.

     15               But every one of these declarations discussions the

     16    burden associated with providing this revenue data.                 And when

     17    you compare that burden with the relevance for what they are

     18    using it, that is to show actual damages in a statutory damage

     19    case where we've given them a proffer, which they haven't even

     20    explored yet with any witnesses, Your Honor, seems to go too

     21    far.

     22               So we have -- so the burden has to be measured in

     23    comparison to the relative value of the discovery in this

     24    context.

     25               I'm happy to go through other declarations, Your




                                               Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 20 of
                                      39

                                                                                             26

      1    Honor, but --

      2               THE COURT:    No, I mean --

      3               MR. OPPENHEIM:    -- they have -- so, Your Honor, there

      4    are statements by each one of the plaintiff groups in this case

      5    describing that providing this revenue data would be

      6    burdensome.     It would require an enormous amount of pulling of

      7    information.    It is described as to each plaintiff group.                   And

      8    that burden needs to be measured as against the value of it.

      9               Your Honor, to be clear, we're not saying that the

     10    data doesn't exist, but it doesn't exist in a single system

     11    where it's just a computer-generated printout.              If that were

     12    the case, then we would just simply be arguing relevance.

     13               But it would require an enormous amount of effort and

     14    time and money to extract all of this information for -- for a

     15    purpose that the defendants haven't explained.

     16               THE COURT:    Well, I think they have explained the

     17    purpose for it.    I don't think -- and again, I'm focusing on a

     18    very limited aspect of what was requested in the various

     19    document requests, 27, 28, 29, 36, 41, 43, and 44, and

     20    interrogatories 2 and 3.

     21               You know, I think under the circumstances -- and, you

     22    know, I -- you know, there is no reasonable argument that

     23    revenues do come into play even when you have statutory

     24    damages.   So that puts it in the realm of we don't just get to

     25    wash our hands of, you know, profit and loss information and




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 21 of
                                      39

                                                                                             27

      1    revenues and lost revenues and things like that, just because

      2    we have statutory damages.

      3               And I understand that getting revenues doesn't

      4    translate directly into it, but it gives one a sense of how one

      5    could calculate on an industry basis what one could expect a

      6    general range of profit and loss to be based on revenues.

      7               MR. OPPENHEIM:    So, Your Honor, what's interesting is

      8    that the defendants pointed to the BMG case and what happened

      9    in that case.   We went back and looked.         And without seeing

     10    exactly what data was produced, we do know what their expert

     11    said and did.

     12               And all he did -- he didn't actually point to the

     13    revenues, lost revenue per track.       What he did is he did an

     14    analysis to determine the proportion of revenue from digital

     15    downloads versus streaming.     So he took -- he got all of this

     16    massive historical data and then he came up with just a simple

     17    percentages.

     18               That is, frankly, if that's all the expert wants,

     19    that's publicly available information.          You don't need to ask

     20    for historical revenue data to figure out the proportion of

     21    streaming to downloads.     IFPI issues international reports on

     22    those kinds of statistics, and their expert, I am sure, has

     23    them or can easily find them.

     24               So they argued for it, ultimately agreed, BMG agreed

     25    to provide all that historical data in light of the motion, but




                                               Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 22 of
                                      39

                                                                                             28

      1    then it wasn't even -- wasn't even used.

      2               He did nothing whatsoever, Your Honor, with

      3    information with respect to licenses or physical sales.                    The

      4    only information the expert in BMG used was downloads and

      5    streams, and only for developing proportional information.

      6               THE COURT:   Well, that -- are you indicating that if

      7    I was to order it, that I should only order it for downloading

      8    and streaming and not for physical sales and licenses revenue?

      9               MR. OPPENHEIM:    So, Your Honor, I don't -- to be

     10    clear, we think that you should deny it outright.

     11               But if Your Honor were going to go down the road of

     12    ordering something here, what I would -- what I would think to

     13    do is start with a sample.     Pick -- if what they want to get is

     14    a sense of what the revenue per track is on streaming or on

     15    downloading, let's pick 50 compositions, 50 sound recordings

     16    and provide that on those two categories.           And then let them

     17    ask questions.

     18               And if that sample shows anything to justify more

     19    information, then we can certainly have a discussion about

     20    that.

     21               But the idea, given the burden and the relative use

     22    here, I think the idea of asking us to produce all of the

     23    historical revenue information for all 11,000 tracks when Cox

     24    in the past didn't use it after asking for it --

     25               THE COURT:   Well, you know, I told you all this every




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 23 of
                                      39

                                                                                             29

      1    time you come in here, this is not the BMG case.               You've got

      2    different counsel representing Cox, you know.              So, you know,

      3    this is different counsel representing the plaintiffs in this

      4    case who are different plaintiffs.        So this is not just a redo

      5    of the BMG case.

      6               MR. OPPENHEIM:    Absolutely, Your Honor, we agree, we

      7    absolutely agree.    But we've put forward, Your Honor,

      8    declarations of burden.     The defendants in their reply brief

      9    say we haven't.    We absolutely have, Your Honor, and they are

     10    there.

     11               THE COURT:   All right.     All right, quickly.              Why

     12    shouldn't I limit it to downstream -- to downloading and

     13    streaming before I provide the revenue information?

     14               I mean, licensing, I don't see how that one could

     15    come into play significantly in someone who is allegedly using

     16    peer-to-peer software to download certain individual

     17    copyrighted works and who was doing licensing it to be used in

     18    a movie or something like that.

     19               Physical sale probably is a little bit closer, but

     20    let me hear why I shouldn't just limit it to downloading and

     21    streaming, those channels.

     22               MS. GOLINVEAUX:    Yes, Your Honor.          For the licensing

     23    royalty, I really think goes to the point Your Honor made about

     24    the value of these individual works.         Some of them, the

     25    plaintiffs enjoy far more revenue than others.              And the




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 24 of
                                      39

                                                                                             30

      1    licensing royalty would be relevant to that, and that would be

      2    relevant to an appropriate level of statutory damages.

      3               I think it is more attenuated than the physical

      4    sales, the digital downloads, and the streaming revenue, but

      5    that's the relevance of the licensing revenue.

      6               And with physical sales -- with physical sales, the

      7    expert would use those in the same way that he would use the

      8    download and streaming revenue to look at the relative

      9    proportions.   And because we don't know if -- but for the

     10    alleged infringement in the case, how that person would have

     11    enjoyed the track otherwise.

     12               THE COURT:   Well, you know, I'm pretty ignorant in

     13    this issue, so you'll have to help me understand.

     14               But a copyrighted work that you're saying being

     15    infringed, let's just say it's one song by an artist.                   If that

     16    song is included in a CD that includes many other songs, how

     17    would one know that the physical purpose -- purchase of a CD

     18    would relate to that individual copyrighted work and what

     19    percentage of it would apply to that individual sale of a

     20    physical CD.

     21               MS. GOLINVEAUX:    Well, Your Honor, with alleged

     22    infringement, it's an issue in the case, there are -- there

     23    will likely be users who are downloading albums as opposed to

     24    songs.   So I think it is relevant to the alleged infringements.

     25               THE COURT:   But they're also, I assume, individual




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 25 of
                                      39

                                                                                             31

      1    songs as well, right?

      2                 MS. GOLINVEAUX:   Your Honor, I think that is likely

      3    true, yes.

      4                 THE COURT:   Okay.   Well, again, one does not strive

      5    for perfection in ruling on these things.           One tries to rule

      6    and move on and let the parties try and do things as best they

      7    can given the information that they will have and have to do.

      8                 You're going to get their expert report on April 10,

      9    it is going to have damages information.           So my ruling is not

     10    going to preclude you from seeking more information once you

     11    get their expert report and provide -- come to me and say, you

     12    know, based on their expert, my expert needs X.

     13                 I'll tell you that if your expert report comes in and

     14    it has a lot of information that you say was too hard to get,

     15    too tough to do, couldn't do it, all that kind of stuff, your

     16    expert may not be able to testify.

     17                 I mean, I will consider a motion that would preclude

     18    him or her from testifying if your representations that you and

     19    your clients have made were only to defend against discovery

     20    and not to prepare your own case.

     21                 MR. OPPENHEIM:    Understood, Your Honor.

     22                 THE COURT:   So you're going to be stuck with that.

     23                 You know, in reading through the declarations, you

     24    know, I don't find that they are adequate to support a

     25    proportionality argument relating to revenue information by




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 26 of
                                      39

                                                                                             32

      1    work.   I think that a time period from 2011 through 2014 of

      2    providing revenue by work is appropriate.           And I think under

      3    the circumstances of doing it, I'm going to at this point in

      4    time, going to go ahead and do it by channel, including

      5    physical sales, downloads, streaming, and licensing.

      6               I mean, I think, you know, that's certainly

      7    information that is relevant.     Whether it is highly relevant, I

      8    think arguably probably doesn't meet the highly relevant

      9    component, but I do think it's relevant.           And I am going to

     10    require them to produce that information.

     11               So it's going to be from 2011 through 2014, revenue

     12    by work by channel, including those four channels, physical,

     13    downloads, streaming, and licensing.         Okay?      Thank you.

     14               MR. OPPENHEIM:    May I ask a question, Your Honor?

     15               THE COURT:   Okay.

     16               MR. OPPENHEIM:    I guess I don't understand why the

     17    information from 2011 and 2012 would be required.

     18               Cox isn't required to provide termination information

     19    for those years, but we have to provide revenue information for

     20    those years?   Clearly to the extent they are trying to show

     21    actual damages, that revenue information wouldn't be relevant.

     22               THE COURT:   Well, it shows trends, so --

     23               MR. OPPENHEIM:    But similarly with respect to the AUP

     24    terminations, we asked for it for purposes of showing trends

     25    and changes and what their behavior --




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 27 of
                                      39

                                                                                              33

      1               THE COURT:    Well, no.    I mean, the real reason you're

      2    getting that information is to show that they have the

      3    authority to do something and they exercised that authority

      4    during the time period.

      5               I'm not going to let you reargue this.                I have

      6    decided it.     You know, if you need clarification on what the

      7    actual ruling is -- but that's the ruling.               That's what your

      8    client is going to be required to do.          Okay?

      9               MR. OPPENHEIM:    Very well, Your Honor.

     10               THE COURT:    Okay.   Ownership and validity.                 Let me

     11    hear your argument on why you need more than what they're

     12    doing.   Why it isn't appropriate to -- if you have specific

     13    concerns about specific works not being -- them not having

     14    standing to pursue the damages that they're claiming for

     15    specific works, why shouldn't that be done on an individual

     16    specific basis after you've gone through and seen their

     17    information and raised it as opposed to this, we want all

     18    documents concerning everything?

     19               MS. GOLINVEAUX:    Yes, Your Honor.            With our motion

     20    we're seeking three categories of documents.               Number one are

     21    the work-for-hire agreements for the works in suit.

     22               With respect to the work for hire --

     23               THE COURT:    What basis do you have that they aren't

     24    in existence?    I mean, they have a valid copyright -- I mean,

     25    they're providing you with copyright registrations, which is a




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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 28 of
                                      39




                              EXHIBIT 2
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 29 of
                                      39

    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 1 of 10 PageID# 25194



                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

                                                            )
          SONY MUSIC ENTERTAINMENT, el          al.,        )
                                                            )
                                 Plaintiffs,                )
                                                            )
                 V.                                         )       Case No. 1: 18-cv-950-LO-JFA
                                                            )       Hon. Liam O'Grady
          Cox COMMUNICATIONS, INC., el         al.,          )
                                                             )
                                 Defendants.                 )
                                                             )


                                                       ORDER

             This matter comes before the Court on the Parties' motions in limine to exclude certain

      evidence at trial. Defendants Cox Communications, Inc., et al. ("Defendants" or "Cox") filed

      ten separate motions, which are listed below. Dkts. 471,474,478,482, 487, 490, 493. 496, 499,

      502. Plaintiffs Sony Music Entertainment, et al., filed an Omnibus Motion in Limine (0kt. 470)

      comprising eleven distinct requests to the Court, which are also detailed below. The matters are

      all fully briefed, and the Court heard oral argument on November 12, 2019. A memorandum

      opinion will follow to address certain matters in further detail.

             As to Defendants' motions, the Court finds the following:

              I. To Preclude Evidence and Testimony Relating to the BMG Litigation. To the extent

      that disputed testimony related to BMG and the relevant Claim Period arises at trial, the Court

      will rule when presented with the evidence at trial. The Court recognizes that this is a separate

      action with different Plaintiffs, and finds that the most efficient way to deal with these objections

      is to rule on admissibility of offered testimony under Fed. R. Evid. 801,804, Fed. R. Civ. P. 32

      and any other rules deemed relevant at the time of trial. The Court disagrees with any argument
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 30 of
                                      39

    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 2 of 10 PageID# 25195



      that Fed. R. Evid. 404 is applicable here. Accordingly, Defendants' Motion in Limine No. l

      (Dkt. 471) is hereby DENIED WITHOUT PREJUDICE.

             2. To Preclude Evidence and Testimony Relating lo Third-Party Infringement Notices.

      The third-party infringement notices are relevant and admissible. Cumulative notices of

      infringement-particularly those targeted at the same subscribers receiving notices from

      Plaintiffs-are relevant for the many reasons in Plaintiffs' Opposition (0kt. 538). As such,

      Defendants' Motion in Limine No. 2 (Dkt. 474) is hereby DENIED.

             3. To Preclude Evidence and Testimony Relating to Emails and Communications with No

      Connection to Alleged InJringement of Plaintiffs' Works. This evidence is clearly probative and

      relevant to actual knowledge and willfulness in this case, as well as Defendants' internal policies

      and approach to the protection of Plaintiffs' works.

             Defendants argue that communications not directed at jpecific infringement of works in

      suit are rendered inadmissible, and that this is improper propensity evidence. Neither assertion

      can be true. These communications are directly relevant circumstantial evidence regarding the

      policies and employees at issue. Plus, they are offered as evidence of continuing conduct, not

      any past action that could support a propensity argument. For these and other reasons stated in

      Plaintiff's Opposition, Defendants' Motion in Limine No. 3 (Dkt. 478) is hereby DENIED.

             4. To Preclude Evidence and Testimony of Infringement and Harm Other Than That

      Allegedly Represented by the RIAA Notices. This motion aligns in several ways with

      Defendants' Motion to Exclude the Testimony of William H. Lehr, Ph.D. Dkt. 306. In that

      sense, the Court will allow Dr. Lehr to testify to harms outside the RIAA notices to the extent

      relevant to economic forces bearing on the Parties. Dr. Lehr's testimony has been subject to




                                                       2
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 31 of
                                      39

    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 3 of 10 PageID# 25196



      scrutiny for many years, is generally admissible under Federal Rule of Evidence 702, and will

      allow Defendants an opportunity to raise Cox's arguments on cross examination.

              But Dr. Lehr's testimony is subject to limitation. Specific damages-related valuations

      offered to the jury may not include notices unrelated to infringement of works in suit. As such,

      notices to subscribers with fewer than three notices may only be offered as evidence of Cox's

      knowledge of infringement, not a basis for statutory damages, unless the work identified in the

      notice is a work in suit. The Court finds it appropriate that Plaintiffs measure harms

      commensurate with the set of subscribers identified with three or more notices. The "value" of

      subscribers receiving fewer than three notices may be quantified for purposes of showing Cox's

      purported economic incentives to tolerate infringement for vicarious liability, but not for actual

      damages specific to this litigation. Similarly, notices from outside the Claim Period are

      inadmissible to inform actual damages unless sent to subscribers that serve to define the set of

      works in suit. Quantifying total infringement notices within the Claim Period and overall

      revenue trends is permissible, as the Court finds that context for the notices in suit is relevant.

              Bundling services is a main part of Cox's business plan, and valuations considering

      bundled services are relevant and admissible to help the jury understand the context of business

      decisions at issue. Pulse checks are not excluded at this time. The Court will consider any

      further objections at trial.

              With these qualifications, Defendants' Motion in Limine No. 4 (Dkt. 482) is hereby

      GRANTED IN PART AND DENIED IN PART.

              5. To Exclude Plaintiffs' Exhibit Number 39. The admissibility of the hard drive will be

      determined at trial. Plaintiffs will need to lay a proper foundation for the Court to consider its

      admissibility. Defendants' Motion in Limine No. 5 (Dkt. 487) is hereby DENIED.



                                                        3
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 32 of
                                      39

    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 4 of 10 PageID# 25197



             6. To Exclude Certain MarkMonitor Evidence. The MarkMonitor evidence will be

      admissible at trial should Plaintiffs lay a proper foundation at that time. The data at issue is not a

      summary within the meaning of Fed. R. Evid. 1006, as Defendants claim, but rather an extraction

      of data that is not materially altered since the time of its collection. Further, it qualifies as a

      business record under Rule 803(6). The Court agrees that '"[p]roducing limited data from a

      larger database is more akin to reviewing a set of documents in response to a discovery request

      and producing only responsive documents ... a smaller subset of data provided as evidence from

      [a] database' is admissible under Rule 803(6) if all the rule's elements are met." Branch v. Gov 't

      Employees Ins. Co., 286 F. Supp. 3d 771, 778 (E.D. Va. 2017) (quoting Health Alliance

      Network, Inc. v. Cont 'I Cas. Co., 245 F.R.D. 121, 129 (S.D.N.Y. 2007)). With proper

      authentication, the MarkMonitor evidence satisfies the elements of Rule 803(6), and, therefore,

      Defendants· Motion in limine No. 6 (Dkt. 490) is hereby DENIED.

              7. To Preclude Plaintiffifrom Relying on Copyright Notices as Proof of Direct

      Infringement. The Parties agree that the use of "infringement" as a conclusion and "infringement

      notice" as evidence of infringement require an instruction to the jury. The Court will await the

      Parties' invitation to collaborate on an acceptable instruction before trial. Defendants' Motion in

      limine No. 7 (0kt. 493) is GRANTED IN PART AND DENIED IN PART.

              8. To Exclude Certain Evidence Relating to Peer-To-Peer Traffic on Cox's Network. The

      Court finds that Peer-to-Peer ('"P2P") traffic is relevant to Cox's business model and spending

      decisions, financial incentives, and knowledge of potentially infringing activity. Plaintiffs'

      proposed testimony regarding Procera and other capabilities related to deep packet inspection is

      admissible to the extent that it is relevant to Cox's anti-piracy conduct. Defendants assert "there

      is no evidence in the record that Cox could have used Procera to control the infringing activity



                                                         4
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 33 of
                                      39

    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 5 of 10 PageID# 25198



      alleged in this case. None." Dkt. 585, Hrg. Tr. 58 13: 15. The Court is not convinced that the

      topic is apt for exclusion, given that Jason Zabek' s performance review from a year before the

      Claim Period notes, "[w]e are still getting our feet wet with Procerra [sic], but are excited about

      how it can assist us in our daily duties." Gould Ex. 15 at 17 (PX-381, Section 4). Defendants

      are free to ofter evidence in rebuttal or to demonstrate corporate policy changes during the Claim

      Period. As such, Defendants' Motion in Limine No. 8 (Dkt. 496) is hereby GRANTED IN

      PART AND DENIED IN PART.

               9. To Preclude Evidence Relating to Terminations for Non-Payment. Reference to

      termination for non-payment versus for infringement is too far afield and the evidence is

      therefore excluded, unless Cox suggests that they terminate lots of customers for cause. If Cox

      so suggests, then it can be introduced. Accordingly, Defendants' Motion in Limine No. 9 is

      hereby CONDITIONALLY GRANTED.

               JO. To Exclude Cox Performance Evaluations. Cox moves to exclude both performance

      evaluations and separation agreements, specifically those pertaining to Jason Zabek and Joseph

      Sikes. The Parties will have an opportunity to reach an agreement as to the extent that the

      credibility of Messrs. Zabek and Sikes will be at issue. 1 The Court will rule after hearing from

      the Parties as to the admissibility of this evidence, and Defendants' Motion in Limine No. 10

      (Dkt. 502) is hereby DENIED WITHOUT PREJUDICE; Defendants' objection may be

      renewed at the time the exhibits are sponsored.

              Turning to the Plaintiffs' omnibus motion in limine (Dkt. 470), the Court finds the

      following: 2


      1
        At oral argument on November 12, 2019, Defendants presented to Plaintiffs and the Court that they will not call
      Mr. Zabek or Mr. Sikes to testify live at trial.
      2 Roman
                numerals indicate Plaintiffs' motion numbers both to match their briefs and to distinguish from
      Defendants' motion numbers.

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Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 34 of
                                      39

    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 6 of 10 PageID# 25199



             I. The Court Should Preclude Evidence or Argument Inconsistent with this Court's

      Factual Findings in its Summary Judgment Decision Concerning Cos 's DMCA Defense in BMG.

      The Court will consider this evidence as it is presented at trial, just as discussed above in

      Defendants' Motion in limine No. 1. Plaintiffs' Motion in limine is DENIED as to issue I.

             II. The Court Should Preclude Evidence and Argument Concerning Cox's Misleading

      and Unsupported Contention that "96% Stop By 5 Notices." There is no adequate foundation

      for the information presented in the "96% Stop By 5 Notices" evidence. Defendants have had

      ample time to produce such a foundation, and failed to do so. Discrepancies in numbers and

      figures as detailed in Plaintiffs' briefs raise an alarming number of questions that demand the

      underlying data be produced, not just the emails Defendants offer in support. See Pis.' Br. Ex. 5,

      Dkt. 4 76-7. The Court does not believe that Defendants can authenticate this evidence in good

      faith for many reasons, including a preview of proposed authentication and clarification in

      Defendants' Opposition (Dkt. 543). Discussing the confusion between "notices" and '"tickets,"

      Defendants offer:

                     Beck explained at deposition that the chart represents the number
                     of Cox's customer facing actions (i.e. tickets memorializing notices
                     sent to customers). His underlying email to Cadenhead thus
                     supports the assertion in DX-74 that it is reporting on just that:
                     "notices sent to customers."

      Id. 5-6 (footnote omitted) (emphasis added). The Court understands this to mean, in other

      words, that tickets and notices are apples and oranges, but here, we are talking about apples so

      they are called oranges. The Court finds this to be unhelpful.

              But even if Cadenhead could, arguendo, authenticate the slides, they are still

      inadmissible hearsay. The email does not qualify as a business record under Fed. R. Evid.

      803(6), nor do the slides that purportedly resulted from it. "While properly authenticated emails



                                                        6
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 35 of
                                      39

    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 7 of 10 PageID# 25200



      may be admitted into evidence under the business records exception," the evidence is not

      properly authenticated here, as just discussed. U.S. v. Cone, 714 F.3d 197, 220 (4th Cir. 2013).

      Given the deficiency in underlying data to support the slides, they likewise are inadmissible as a

      summary under Fed. R. Evid. 1006. Accordingly, Plaintiffs' Motion in Limine is GRANTED as

      to issue II.

              III. The Court Should Preclude Any Evidence or Argument Relating to the Policies or

      Practices of Other ISPs (Including the Copyright Alert System). Defendants are permitted to put

      on evidence about the Copyright Alert System ("CAS") as well as its own graduated response

      system, the Cox Abuse Ticket System ("CATS"). Evidence about other ISPs as identified in the

      Stroz Friedberg Reports will also be admissible to the extent that it is relevant and there is a

      proper foundation. As such, and for much of the reasoning in Defendants' pleadings, Plaintiffs'

      Motion in Limine is DENIED as to issue Ill.

              IV. The Court Should Preclude Any Argument that Cox is Not Liable for Infringement

      Over its Network by Users Other Than Named Account Holders. Defendants intend to challenge

      direct infringement evidence by questioning the identities of actual end users. The Court notes

      that no specific names are required to establish direct infringement, as Plaintiffs may establish

      direct infringement using circumstantial evidence. But Cox is not precluded from introducing

      relevant evidence to weaken the inference of infringement. Business subscribers, however, are

      not categorically excluded from Defendants' basis of liability. Thus, Plaintiffs' Motion in

      limine is GRANTED IN PART AND DENIED IN PART as to issue IV.

               V. The Court Should Prec:Jude Any Evidence ofArgument Concerning the MarkMonitor

      '236 Spreadsheet. The MarkMonitor •236 Spreadsheet will only confuse the jury in this case,

      and is largely cumulative of the •431 Spreadsheet. Further, Defendants' claim that the data in the



                                                        7
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 36 of
                                      39


    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 8 of 10 PageID# 25201



      '236 Spreadsheet casts doubt on the '431 Spreadsheet is unsupported, as Cox makes arguments

      based on a largely empty data set. The only conclusion properly drawn, the Court finds, is that

      MarkMonitor began keeping more data some time in or after 2015-well after the claim

      period-and the later-added data is not relevant. For these and many of the reasons stated in

      Plaintiffs' pleadings, Plaintiffs' Motion in Limine is hereby GRANTED as to issue V.

              VI. The Court Should Exclude the REV0003444 Spreadsheet and Any Related Testimony

      or Argument. The Audible Magic Spreadsheet, as the REV00003444 is also called, is

      inadmissible. It is unauthenticated, as Cox made a choice not to inquire about it or Audible

      Magic's data collection practices more specifically during depositions. Defendants' expert Dr.

      Feamster cannot authenticate it, as Cox suggests, simply because he was present at the deposition

      in which Mr. lkezoye from Audible Magic referenced "transaction logs." The foundation for the

      data is vague, the data itself is incomplete, and the Parties' attempts to explain its significance

      thus far suggest it will not help the jury in its facttinding role. Plaintiffs' Motion in Limine is

      hereby GRANTED as to issue VI.

              VII. The Court Should Preclude Emails Cox Received from Customers Purporting to

      Respond to Plaintiffs' Infringement Notices. Defendants intend to offer 1,800 emails at trial as

      evidence that Cox's subscribers in some way objected to the emailed infringement tickets from

      Cox. The Parties agree that the truth of the content of the email is hearsay, but Defendants offer

      additional relevancy regarding: the knowledge element of contributory infringement; a rebuttal

      to Plaintiffs' claim that no subscriber disputed an allegation of infringement; and the claim that it

      was reasonable for Cox not to terminate repeat infringers. If Defendants can demonstrate that

      the emails are relevant to Cox's state of mind during the Claim Period, not retroactively,

      Defendants may offer the evidence. Limitations on its admissibility and potential prejudice



                                                        8
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 37 of
                                      39

    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 9 of 10 PageID# 25202



      under Rule 403 will be determined at trial. Plaintiffs' Motion in limine is hereby GRANTED

      IN PART AND DENIED IN PART as to issue VII.

              VIII. Cox Should be Precluded from Presenting Evidence and Argument Concerning

      Plaintiffs' Track-Level Revenuesfrom the Works in Suit. Mr. Tregillis' testimony regarding

      pricing calculations based on track-level data will be permitted, and he can testify to his

      methodology and findings. The Court is mindful of the sensitive nature of Plaintiffs' proprietary

      pricing information, though several years old, and thus Mr. Tregillis may testify to summary

      findings without the underlying documents being admitted into evidence. Defendants are

      advised to avoid any testimony or demonstratives that might compromise proprietary pricing

      information as to specific Plaintiffs or works without authorization from the Court. As such,

      Plaintiffs' Motion in Limine is hereby GRANTED IN PART AND DENIED IN PART as to

      issue VIII.

             IX. The Court Should Exercise its Discretion to Preclude Cox from Offering Deposition

      Testimony from Witnesses it Controls and Could Bring to Trial. Upon consideration of the

      Parties' arguments and governing law, the Court does not find that Plaintiffs met their burden to

      show that Cox has procured the absence of the witnesses in question. Accordingly, Defendants

      are not compelled to invoke contractual obligations to produce particular witnesses at trial, and

      Plaintiffs' Motion in Limine is hereby DENIED as to issue IX.

             X Cox Should be Precluded from Offering Live Testimony from Four Key Witnesses it

      Refuses to Make Available for Live Examination in Plaintiffs' Case in Chief. For the reasons

      stated from the bench, no deposition testimony shall be offered at trial for a witness who will

      appear to give live testimony. Plaintiffs' Motion in Limine is hereby GRANTED as to issue X.




                                                       9
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 38 of
                                      39


    Case 1:18-cv-00950-LO-JFA Document 590 Filed 11/19/19 Page 10 of 10 PageID# 25203



             XI. The Court Should Preclude Testimony from Victoria Sheckler. Plaintiffs argue that

      Defendants should be precluded from calling RIAA employee Victoria Sheckler to testify

      because, among other objections, she is not the Fed. R. Civ. P. 30(b)(6) designee. Considering

      the Parties' arguments surrounding burdens on the witness and cumulative testimony, the Court

      will not preclude Defendants from calling Ms. Sheckler. The fact that Mr. Marks was the

      30(b)(6) witness for RIAA does not disqualify Ms. Sheckler as a witness altogether. Further, the

      Court trusts that the Parties are capable of coordinating such that the witness would not be tom

      away from work for the entirety of the trial. Plaintiffs' Motion in Limine is hereby DENIED as

      to issue XI.

              It is SO ORDERED.



      November\~ , 2019                                           Liam O'G
      Alexandria, Virginia                                        United Sta::istrict Judge




                                                      10
Case 1:19-cv-00874-RBJ-MEH Document 94-1 Filed 12/10/19 USDC Colorado Page 39 of
                                      39




                               EXHIBIT 3

                             REDACTED
